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10                    UNITED STATES DISTRICT COURT
11           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
12    LOCAL 272 LABOR-MANAGEMENT                       Case No. 2:23-cv-03661
      PENSION FUND, CENTRAL
13    PENNSYLVANIA TEAMSTERS PENSION
14    FUND, CENTRAL PENNSYLVANIA                       REPLY IN SUPPORT OF
      TEAMSTERS PENSION FUND –                         DEFENDANTS’ CONSOLIDATED
15
      RETIREMENT INCOME PLAN 1987,                     MOTION TO DISMISS
16    CENTRAL PENNSYLVANIA TEAMSTERS                   CONSOLIDATED COMPLAINT
      HEALTH AND WELFARE FUND AND
17
      JOHN P. TALBOT, on Behalf of Themselves
18    and All Others Similarly Situated,               Date: March 26, 2024
19                                                     Time: 10:00 a.m.
                                           Plaintiffs, Ctrm: 8D
20
                            v.
21                                                     Judge Consuelo B. Marshall
      THE WALT DISNEY COMPANY, ROBERT
22    IGER, ROBERT CHAPEK, CHRISTINE M.
23    MCCARTHY AND KAREEM DANIEL,
24                                      Defendants.
25
26
27
28
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 1         The Opposition underscores Plaintiffs’ failure to plead fraud with particularity.
 2         Scheme Liability. Plaintiffs ignore the most critical element of scheme liability—
 3   it must be “to defraud” investors. 17 C.F.R. § 240.10b-5(a). A fully disclosed business
 4   strategy, successful or not, cannot defraud investors. Defendants extensively disclosed
 5   the so-called “artifices” Plaintiffs say comprised the alleged scheme. Relatedly, Plaintiffs
 6   cannot credibly allege that Defendants engaged in a scheme for the “principal purpose
 7   and effect” of deceiving investors, given that they accurately disclosed the key Disney+
 8   metrics, predicted large future losses, and warned that its plans might fail. See § I.A.1.
 9         Alleged Misstatements. Forced to concede that Disney’s robust disclosures and
10   warnings about Disney+ render their alleged misstatements non-actionable, Plaintiffs all
11   but ignore them in the Opposition, instead arguing that Disney should have disclosed
12   other information. But there is no “rule of completeness for securities disclosures
13   because ‘[n]o matter how detailed and accurate disclosure statements are, there are likely
14   to be additional details that could have been disclosed but were not.’” Police Ret. Sys. of
15   St. Louis v. Intuitive Surgical, Inc., 759 F.3d 1051, 1061 (9th Cir. 2014). Plaintiffs fail to
16   plead that Disney “affirmatively create[d] an impression of a state of affairs that differs in
17   a material way from the one that actually exists”, as they must to state an omission claim.
18   Brody v. Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir. 2002). See § I.A.2.
19         Scienter. Plaintiffs plead no information known to any defendant that contradicts
20   a public statement. The general allegations about profit motive could apply to executives
21   of any large public company. And the CWs have no personal knowledge bearing on the
22   individual defendants’ state of mind—except that CW-1 confirms Disney accurately
23   reported its December 2020 targets. Thus, Plaintiffs do not plead scienter. See § I.A.3.
24         Loss Causation. “When plaintiffs plead a causation theory based on market
25   revelation of the fraud, [a] court naturally evaluates whether plaintiffs have pleaded or
26   proved the facts relevant to their theory.” Irving Firemen’s Relief & Ret. Fund v. Uber
27   Techs., 998 F.3d 397, 410 (9th Cir. 2021). Disney’s stock price fell, but Plaintiffs fail to
28   plead that the reason was a disclosure of any fraud, which is dispositive. See § I.A.4.
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 1         § 20A Trading Claim. Plaintiffs argue that their § 20A claim against Mr. Iger is
 2   predicated on a § 10(b) insider trading claim that appears nowhere in their Complaint and
 3   is unsupported by their allegations. Plaintiffs do not attempt to argue scienter as to Mr.
 4   Iger and fail to plead with particularity any material non-public information (“MNPI”) he
 5   possessed. Likewise, for Ms. McCarthy, Plaintiffs’ claim fails at every turn—lack of a
 6   predicate violation, scienter and MNPI. See § I.B.
 7                                      I.   ARGUMENT
 8      A. Plaintiffs’ § 10(b) Claim (Count I) Fails to Plead Fraud with Particularity.
 9         Plaintiffs fail to offer a cognizable theory of fraud in light of Disney’s exhaustive
10   disclosures about the risks and performance of Disney+. Plaintiffs concede that Disney
11   repeatedly disclosed:
12         • The risks of Disney’s transition to DTC, including that it would not be
              profitable for years and would incur large operating losses in the meantime;
13         • Disney’s content costs and operating losses—hundreds of millions each quarter;
14         • Disney+ subscriber numbers and average revenue per user (as well as that
              wholesale and international subscribers generated less revenue);
15         • That Disney would forgo revenue from traditional sources to promote Disney+;
16         • That Disney would invest heavily in content and expand internationally; and
           • Disney’s plans for DTC were risky and might fail.
17
     Plaintiffs also acknowledge that many of the statements included in their Complaint are
18
     not false or misleading. (Opp. at 9, 12, 16, 25, 28 n.6.) Plaintiffs resort to arguing that
19
     Defendants should have disclosed even more. But securities laws do not require
20
     “complete disclosure of all material information whenever a company speaks on a
21
     particular topic”, only that disclosures not be misleading, which these were not. Weston
22
     Fam. P’ship LLP v. Twitter, 29 F.4th 611, 615 (9th Cir. 2022).
23
               1. Plaintiffs Fail to Allege Scheme Liability.
24
           Plaintiffs do not “allege two distinct Rule 10b-5 claims”. (Opp. 1.) The Complaint
25
     pleads one count under “Rule 10b-5(a)-(c)”. (CC ¶¶ 410-419.) Whether styled as
26
     misstatements or a scheme, Plaintiffs must plead fraudulent conduct and satisfy Rule
27
     9(b)’s heightened pleading standard. In re Nektar Therapeutics, 2020 WL 3962004, at
28
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 1   *13 (N.D. Cal. July 12, 2020).1 Scheme liability is not an end-run around Rule 9(b)’s
 2   particularity requirements. Courts routinely dismiss scheme claims that—as here—
 3   merely challenge statements that are not false or misleading. See In re AGS, Inc., Sec.
 4   Litig., 2024 WL 581124, at *4 (D. Nev. Feb. 12, 2024) (dismissing scheme claim where
 5   not “independent of [plaintiffs’ unsuccessful] misrepresentation claim”); Kang v. PayPal
 6   Holdings, Inc., 620 F. Supp. 3d 884, 901 (N.D. Cal. Aug. 8, 2022) (dismissing where
 7   “alleged scheme consists entirely of (and fails for the same reasons as) the
 8   misstatements”). Plaintiffs’ theory that Defendants schemed to “create the false ‘illusion
 9   of robust, sustainable, and profitable subscriber growth’ at Disney+,” (Opp. 1),
10   repackages their misstatement claim and fails for the same reasons.
11           Plaintiffs also must allege with particularity conduct that had the “principal
12   purpose and effect of creating a false appearance of fact in furtherance of the scheme”.2
13   (Opp. at 4.) Plaintiffs have not explained (much less alleged with particularity) how any
14   of Disney’s business plans—and extensive disclosures about those plans—had the
15   principal purpose of deceiving the market about Disney+. “Conduct that is consistent
16   with the defendants’ normal course of business would not typically be considered to have
17   the purpose and effect of creating a misrepresentation.” Simpson v. AOL Time Warner
18   Inc., 452 F.3d 1040, 1050 (9th Cir. 2006). Plaintiffs cite no case to the contrary. Nor
19   have they explained how any supposed “artifice” could have had the effect of deceiving
20   investors in light of Disney’s extensive disclosures on the very same topics.
21           Indeed, Plaintiffs’ supposed scheme makes no sense. Plaintiffs assert that
22       1
           Plaintiffs identify no binding Ninth Circuit authority that the PSLRA’s heightened pleading
23   requirements do not also apply to a scheme theory. Opp. 4 (citing primarily out of circuit cases);
     compare In re AGS, Inc., Sec. Litig., 2024 WL 581124, at *4 (“All claims brought under Rule 10b-5 are
24   subject to the heightened pleading requirements of [Rule] 9(b) and the [PSLRA]”).
25       2
            Plaintiffs argue that they need not plead “the exact mechanism of the scheme”. (Opp. at 4.) But
     the out-of-circuit case on which Plaintiffs rely, ATSI Communications, Inc. v. Shaar Fund, Ltd., explains
26   that a plaintiff must plead “what manipulative acts were performed, which defendants performed them,
27   when the manipulative acts were performed, and what effect the scheme had on the market for the
     securities at issue” and may not rest on “[g]eneral allegations not tied to the defendants or resting upon
28   speculation”. 493 F.3d 87, 102 (2d Cir. 2007). Plaintiffs come nowhere close to meeting that standard.

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 1    Defendants wanted to make investors believe that Disney+ was “achieving sustainable
 2    subscriber growth that would lead to profitability” (Opp. at 4), but never reconcile that
 3    supposed purpose with extensive disclosures accurately describing the underlying facts
 4    every quarter—including Disney+ subscribers, massive operating losses, and revenue
 5    metrics—or with Disney’s prediction to this day that Direct-to-Consumer will be
 6    profitable by 2024. A scheme requires secrecy and misinformation; here, there was
 7    neither.
 8           Merely labeling components of Disney’s accurately-disclosed business plans
 9    “artifices” is insufficient. See Borteanu v. Nikola Corp., 2023 WL 1472852, at *23 (D.
10    Ariz. Feb. 1, 2023) (dismissing scheme claim absent facts showing “purpose” “was to
11    create a false appearance of fact”); In re Nektar Therapeutics, 2020 WL 3962004, at *14
12    (allegations that data was “deceptive, without actually explaining in detail what the data
13    was, what industry standards require with regard to such data, how the data should have
14    been prepared and presented to investors, and why Defendants’ presentation did not meet
15    those standards” was too “vague and conclusory” to meet PSLRA’s requirements). Each
16    of Plaintiffs’ “artifices” fails.
17           Disney+ Subscriber Targets. Plaintiffs argue that Defendants “‘launched the
18    scheme by intentionally setting an unattainably high Disney+ subscriber target’ at
19    Disney’s 2020 Investor Day” (Opp. at 5), but ignore that their own witness, CW-1,
20    confirms that the targets reflected Disney’s actual five-year plan. (Mot. at 12; CC ¶ 35.)
21    Having an optimistic plan that ultimately does not work out is not securities fraud. The
22    alleged scheme could be actionable only if Disney’s targets were false or not believed
23    when they were made. Plaintiffs allege no such facts, which is dispositive. Plaintiffs say
24    that the predictions are not protected by the PSLRA safe harbor because it does not apply
25    to scheme claims. (Opp. at 9, 24-25.) This is incorrect where plaintiffs’ scheme
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27
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 1    allegations reduce down to alleged misstatements.3 See 15 U.S.C.A. § 78u-5 (safe harbor
 2    applies to claim “based on an untrue statement of a material fact or omission of a material
 3    fact”).
 4              DMED. Plaintiffs concede that Defendants disclosed the DMED reorganization,
 5    including that streaming “distribution and commercialization activities [would] be
 6    centralized”. (Mot. at 8-9, 13.) Plaintiffs do not plead facts suggesting that the DMED
 7    reorganization or the appointment of Mr. Daniel had the purpose or effect of deceit.
 8    Asserting that “Chapek appointed Daniel for the purpose of advancing Defendants’
 9    scheme” (Opp. at 9), without explaining how that was deceptive, is not enough.
10              Feature Films. Plaintiffs’ assertion that Defendants failed to disclose that it
11    “steer[ed] feature films to Disney+” “to boost subscriber growth” “to the detriment of
12    overall Company profits” (Opp. at 6, 10) is wrong. Defendants disclosed that “content is
13    the single biggest driver to not only acquiring sub[scriber]s, but retaining them”, and that
14    Disney “expect[ed] to forgo revenue from traditional sources” by steering content to
15    Disney+. (Ex. 28, FY21 Q1 Earnings Call at 1146; Ex. 10, 2019 Form 10-K at 147-50).
16              “Buying” Subscribers. Defendants repeatedly disclosed—and in no way
17    “mask[ed] the impact” of—Disney’s content spend. (Opp. at 6.) Disney announced at its
18    2020 Investor Day that content costs would quadruple due to the strategy of spending
19    more on content to attract subscribers, and disclosed those content costs every quarter.
20    (Mot. at 6-8.) Far from concealing “devastating near-term financial consequences” (Opp.
21    at 10), Disney disclosed its large operating losses every quarter. (Mot. at 8.) Disney also
22    warned that it invests in content “before knowing” whether it “will earn consumer
23    acceptance”, and, as a result, “subscription fees” “may decline” and “affect the
24    profitability”. (Mot. at 4, 14.)
25              Promotions. Plaintiffs assert that Defendants concealed the impact of promotions
26
          3
27          Plaintiffs’ reliance on SEC v. Hui Feng, 935 F.3d 721, 737 (9th Cir. 2019) is misplaced. There,
      Mr. Feng, who assisted individuals with immigration issues, created international shell companies to
28    receive rebates that he concealed from his clients. Id. Such facts bear no relation to those here.

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 1    on Disney+’s profitability. (Opp. at 11.) Not so. Disney disclosed accurate subscriber
 2    numbers and average revenues per subscriber (“ARPU”) each quarter, which allowed
 3    investors to assess for themselves the aggregate impact of discounts and promotions on
 4    Disney+’s profitability. Disney also disclosed that some subscribers received the service
 5    at no additional cost through a third party that paid Disney a fee and that “wholesale
 6    arrangements” yielded less revenue per subscriber. (Mot. at 7.) Plaintiffs complain that
 7    Disney did not “quantif[y] the number of ‘paid subscribers’ obtained via promotion”.
 8    (Opp. at 11.) But Disney did not conceal the number of promotional subscribers—e.g.,
 9    Ex. 13 Q1 FY20 Earnings Call at 369 (explaining 50% of subscribers came from third-
10    parties, with 20% from Verizon)—and no statement about promotions was misleading
11    because, inter alia, any effects were baked in to other metrics Disney accurately
12    disclosed, such as ARPU. Even if some “investors may have preferred to have more
13    information . . . Section 10(b)(5) and Rule 10b-5 do not require such disclosure”. Huang
14    v. Avalanche Biotechnologies, Inc., 2016 WL 6524401, at *8 (N.D. Cal. Nov. 3, 2016).
15    Plaintiffs’ suggestion that Disney should have disclosed various unsupported hindsight
16    judgments—that “promotions impeded Disney+’s profitability”, “promotions would lead
17    to elevated churn” and subscribers were of “low quality”—also fails. (Opp. at 11.)
18    Plaintiffs have alleged nothing to demonstrate that anyone at Disney reached those
19    conclusions during the Class Period. See, e.g., Pirani v. Netflix, Inc., 2024 WL 69069, at
20    *9 (N.D. Cal. Jan. 5, 2024) (allegations about facts that existed at the end of class period
21    were insufficient to show Netflix was aware of those facts throughout the class period).
22          International Markets. Unable to dispute that Defendants disclosed that
23    international expansion was part of its plan to grow subscribers and that its international
24    markets were less profitable (Mot. at 11-12), Plaintiffs suggest that Defendants should
25    have disclosed “subscriber numbers or revenue on a country-by-country basis”. (Opp. at
26 11-12.) But, again, because what Disney did disclose was accurate and not misleading,
27 there was no duty to disclose more. See In re Netflix, Inc., Sec. Litig., 964 F. Supp. 2d
28 1188, 1193 (N.D. Cal. 2013) (rejecting argument that once “Netflix began to discuss its
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 1    focus on streaming, it had a duty to disclose all manner of information about streaming’s
 2    margins”).
 3            Disney+ “On Track”. Plaintiffs wrongly argue that Defendants somehow
 4    conceded that statements that Disney was “on track” to meet its targets were part of a
 5    scheme. (Opp. at 12.) Not so. Plaintiffs, having failed to show that the statements were
 6    false or unbelieved when made, have not alleged how such statements could have the
 7    purpose or effect of deceit. (Mot. at 16.) For just that reason, Plaintiffs now concede that
 8    they do “not allege these statements violated Rule 10b-5(b)”. (Opp. at 12.)4
 9            “Accounting Manipulations”. Plaintiffs fail to plead facts showing concealed
10    accounting practices, much less “manipulations”. (Opp. at 7-8.) Plaintiffs’ allegation
11    that Disney’s accounting change “shav[ed] off over 30%” of content costs (Opp. at 12),
12    which they derive from data that was available to investors, contradicts any concealment.
13    See In re Netflix, Inc. Sec. Litig., 2005 WL 3096209, at *9 (N.D. Cal. Nov. 18, 2005) (no
14    fraud where “the raw data that would have allowed investors and analysts to calculate”
15    allegedly concealed metric “were disclosed”). Plaintiffs assert that Disney “artificially
16    shift[ed] marketing and content costs away from Disney+” (Opp. at 13), but no pleaded
17    facts show that happened, how any Defendant was involved, that any impact on costs was
18    material, or that there is anything improper—let alone fraudulent—about allocating
19    internal costs in this manner, all in open view of investors. Or. Pub. Emps. Ret. Fund v.
20    Apollo Grp. Inc., 774 F.3d 598, 604 (9th Cir. 2014) (accounting not misleading without
21    showing that “numbers were incorrect or misstated”). As Plaintiffs concede (Opp. at 12),
22    Disney recast its prior financials to allow for apples-to-apples comparison to future
23    reporting—further undercutting Plaintiffs’ unsupported inference of a deceitful scheme.
24            Churn. Plaintiffs identify no basis to suggest that Defendants had an obligation to
25    report churn data, nor do they offer any allegations that support an inference that the
26
          4
27          SEC v. Richman, involving revenue projections that defendants knew would never be obtained, is
      not to the contrary. (Opp. at 12.) Plaintiffs have not alleged that Defendants “knew that the walls were
28    closing in around them”, as was alleged there. 2021 WL 5113168, at *8 (N.D. Cal. Nov. 3, 2021).

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 1    statements regarding churn were false or deceptive. (Mot. at 17-18.)
 2               2. Plaintiffs Fail to Allege Misstatement Liability.
 3            Plaintiffs fault Defendants for efficiently briefing their arguments on the
 4    overlapping scheme and misstatement allegations—which are premised on the same
 5    allegedly concealed information—and still fail to point to any pleaded facts that render
 6    the alleged misstatements false or misleading.
 7            Plaintiffs repeatedly argue that statements are misleading by virtue of other
 8    information that could have been disclosed. That is not the law. “Often, a statement will
 9    not mislead even if it is incomplete or does not include all relevant facts.” In re Cutera
10    Sec. Litig., 610 F.3d 1103, 1109 (9th Cir. 2010) (citation omitted); see In re Rigel
11    Pharms., Inc. Sec. Litig., 697 F.3d 869, 881 (9th Cir. 2012) (that “some investors might
12    have wanted more extensive information” does not “make the alleged original statements
13    false or misleading”). “Securities laws . . . do not require real-time business updates or
14    complete disclosure of all material information.” Twitter, 29 F.4th at 615. Plaintiffs’
15    allegations resemble those rejected by the Ninth Circuit in In re Netflix. There, the
16    plaintiffs alleged that Netflix failed to disclose that streaming platforms’ profitability was
17    “minimal”, that “soaring [streaming] costs” were not offset, and that streaming’s margin
18    was lower than disclosed. 964 F. Supp. 2d at 1193. The court rejected those “vague”
19    allegations that “depend[ed] on the tenuous theory that Defendants withheld discrete and
20    accurate financial information about streaming while also touting streaming’s
21    profitability”. Id. at 1198. The Ninth Circuit affirmed, citing Netflix’s risk disclosures
22    regarding “getting its online-streaming business off the ground”. In re Netflix, Inc. Sec.
23    Litig., 647 F. App’x 813, 816 (9th Cir. 2016). Here, too, Defendants repeatedly disclosed
24    the risks of Disney’s DTC expansion, telling investors they projected Disney+ would be
25    unprofitable until 2024 and would incur billions of dollars of losses in the interim. 5
26
27        5
            Plaintiffs fault Defendants for not predicting the future, arguing that they should have disclosed
      that content costs were “snowballing ultimately forcing Defendants to write off billions of dollars”.
28
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 1    Plaintiffs now recognize that those projections were not misleading. (Opp. at 24-25.)
 2                              a. Defendants’ Hard Data Was Not Misleading.
 3            Plaintiffs concede that Disney’s reported metrics were accurate. Their sole
 4    argument as to why the hard data were somehow misleading is that Disney did not also
 5    disclose churn rates. (Opp. at 22.) But Defendants had no obligation to do so.
 6            Plaintiffs’ allegations are unlike those in the case they cite. In Shenwick v. Twitter,
 7    Inc., the plaintiffs alleged specific facts showing that Twitter reported positive monthly
 8    active users (“MAU”) while concealing negative daily active users (“DAU”), and that
 9    those DAU trends “made MAU growth implausible”. 282 F. Supp. 3d 1115, 1137 (N.D.
10    Cal. 2017). Here, Plaintiffs fail to plead any facts to show that Disney’s churn statements
11    contradicted Disney+ subscriber metrics, and acknowledge that Defendants’ statements
12    about subscriber targets were not misleading. (Mot. at 17-18; Opp. at 9, 22.)
13    “Disclosure[s] of accurate historical data accompanied by general statements of
14    optimism. . . are not actionable.” Monachelli v. Hortonworks, Inc., 225 F. Supp. 3d 1045,
15    1055 (N.D. Cal. 2016) (citation omitted).
16                              b. The Alleged Misstatements Are Inactionable Puffery.
17            Plaintiffs concede that 10 of the statements of corporate optimism are neither false
18    nor misleading.6 (Opp. at 22-23.) Plaintiffs fail to show that the other statements are
19    anything but inactionable puffery.7 They are unlike those in In re Quality Sys., Inc. Sec.
20    Litig., where a defendant not only said “that he believed plenty of opportunities for new
21    system sales existed” but also specified facts—the “proportion of the large and mid-size
22
      (Opp. at 17 (emphasis added).) Allegations of fraud by hindsight cannot support a securities claim. See
23    In re Worlds of Wonder Sec. Litig., 35 F.3d 1407, 1419 (9th Cir. 1994).
24        6
            The statements that remain at issue and are inactionable puffery are statements 2, 13,18, 24, 25,
      27, 31, 36-39, 41-43, 46, 47, 50, 54-56, 65, 69, 70, 74-82. (Opp. at 22-23.) All statement numbers refer
25    to Defendants’ Index A - Alleged Misstatements Chart, which accompanies Defendants’ Motion.
26        7
            Defendants do address the June 28, 2022 statement where a Disney Board member praised Mr.
27    Chapek. (Mot. at 21-22). Like other statements about Disney’s leaders, this is non-actionable puffery.
      (Id.) Moreover, it is irrelevant to the scienter of any Individual Defendant, as none was its maker. (Opp.
28    Ex. A at 21.)

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 1    practice markets” and “the pipeline was full and growing”. 865 F.3d 1130, 1144 (9th
 2    Cir. 2017) (emphases added). Here, on the other hand, the statements provided no facts
 3    that “created an impression of affairs that differed in a material way from the one that
 4    actually existed”. Id. (cleaned up). Tellingly, Plaintiffs ignore Ninth Circuit precedent
 5    where statements like those here were held to be non-actionable. (See Mot. at 22.)
 6                             c. The PSLRA’s Forward-Looking Safe Harbor Applies.8
 7            Plaintiffs acknowledge that Defendants’ statements about Disney+ content and
 8    future international expansion are forward-looking. (Opp. at 24-25.) Their arguments as
 9    to why those statements nonetheless fall outside the safe harbor are unavailing.
10            Content. The lone forward-looking statement regarding content is non-actionable.
11    The statement reads: “Overall, we are pleased with Disney+ subscriber growth in the
12    quarter and are looking forward to new market launches and a strong content slate
13    later this year.” (Opp. at 25.) Plaintiffs concede that the bolded portion of the statement
14    is forward-looking, but ignore that the rest is non-actionable opinion and puffery. (Id.)
15            Future International Expansion. Plaintiffs argue that statements about Disney’s
16    planned international expansion are outside of the PSLRA safe harbor because they
17    omitted “information about the unprofitability of those new regions”. (Opp. at 25.) But
18    Disney did disclose that international regions were less profitable, (Mot. at 11-12, 15-16),
19    and predictions about future expansion are textbook forward-looking statements. Kong v.
20    Fluidigm Corp., 2023 WL 2134394, at *4 (9th Cir. Feb. 21, 2023) (citation omitted) (safe
21 harbor protects “statements [that] assess ‘how various future events will play out’ and
22    “do not describe ‘specific, concrete circumstances that have already occurred’”).
23            Meaningful Cautionary Language. Each forward-looking statement was
24 accompanied by specific and meaningful cautionary language that was far from “boiler
25 plate”. During each earnings call, Disney disclosed that “actual results may differ
26
          8
27         Plaintiffs concede that many statements are not false or misleading. (Opp. at 25.) Those that
      remain and are inactionable as forward-looking include: Statements 10, 12, 14, 17, 43-45, 48-52, 54-56,
28    65-72.

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 1    materially from those expressed or implied” for any number of factors, including
 2    “consumer preferences”, “the performance of the Company’s theatrical and home
 3    entertainment” or “performance of some or all company businesses either directly or
 4    through their impact on those who distribute our products”. (See, e.g., Ex. 71 at 124.)
 5    Disney also directed investors to their SEC filings containing detailed cautionary
 6    language with important factors related to the particular statements. (Mot. at 3-4, 24.)9
 7    Those disclosures sufficiently warned investors. See In re Netflix, 647 F. App’x at 816.
 8                              d. The Alleged Misstatements Are Non-Actionable Opinions.10
 9             For opinions to be actionable, Plaintiffs must allege specific facts showing that
10    Defendants did not genuinely hold the opinions allegedly misstated, see City of Dearborn
11    Heights Act 345 Police & Fire Ret. Sys. v. Align Tech., Inc., 856 F.3d 605, 615-16 (9th
12    Cir. 2017), yet Plaintiffs point to no such facts. Plaintiffs cite Mr. Chapek’s November 8,
13    2022 statement that “we still expect Disney+ to achieve profitability in fiscal 2024” (Opp.
14    at 26), yet they admit that statements regarding profitability targets were not false (id. at
15    24-25), and have never been changed (Mot. at 21, 22).
16                3. Plaintiffs Fail to Plead Scienter.
17             The absence of particularized allegations showing a strong inference of scienter
18    defeats Plaintiffs’ § 10(b) claim, whether expressed on a misstatement or scheme theory.
19    Plaintiffs entirely ignore their obligation to plead scienter “with respect to each of the
20    individual defendants”. Or. Pub. Emps. Ret. Fund, 774 F.3d at 607. This alone is fatal.
21    Plaintiffs must allege intent to defraud or deliberate recklessness, which “is
22
          9
23           This cautionary language is unlike the language in the cases on which Plaintiffs rely. (Opp. at 25
      (citing, e.g., Livid Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d 940, 947 (9th Cir. 2005)
24    (cautionary language advised only that prior offering memorandum had not been updated); Provenz v.
      Miller, 102 F.3d 1478, 1493-94 (9th Cir. 1996) (language directly contradicted actual state of affairs);
25    Zaghian v. Farrell, 675 F. App’x 718, 720 (9th Cir. 2017) (cautionary language warned of potential
26    failure to meet sales expectations, but defendants were aware that product “would likely fail”).)
          10
27           Plaintiffs again concede that certain statements are not false or misleading. (Opp. at 26.) This
      leaves the following as non-actionable opinions: Statements 12, 15, 16, 31, 38, 42, 48-50, 54-56, 65, 66,
28    70, 74, 76, 77, 79-80.

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 1    an extreme departure from the standards of ordinary care . . . which presents a danger of
 2    misleading buyers or sellers that is either known to the defendant or is so obvious that the
 3    actor must have been aware of it.” City of Dearborn, 856 F.3d at 619 (citation omitted).
 4    Plaintiffs’ allegations do not satisfy this stringent standard for scienter, which must be
 5    “cogent and at least as compelling as any opposing inference”. Zucco Partners, LLC v.
 6    Digimarc Corp., 552 F.3d 981, 991 (9th Cir. 2009) (citation omitted).
 7                              a. Plaintiffs Fail to Plead Scienter as to Mr. Chapek.
 8             Plaintiffs plead no facts that would support a strong inference of scienter as to
 9    Mr. Chapek. Plaintiffs do not allege that Mr. Chapek did not genuinely believe in his
10    strategy for Disney+. Nor do they allege that he traded Disney stock during the Class
11    Period. While the ultimate result of his strategy may not have matched his goal—and
12    resulted in his termination—that in no way indicates fraudulent intent.
13             Internal Data. The Opposition merely repeats that Defendants “closely tracked”
14    data about churn and other metrics but fails to identify specific data contrary to public
15    statements. (Opp. at 27-28.) Plaintiffs’ failure to “detail the actual contents of the reports
16    the executives purportedly referenced or had access to” that contradicted what they said
17    publicly is fatal. Police Ret. Sys. of St. Louis, 759 F.3d at 1062-63; see also Lipton v.
18    Pathogenesis Corp., 284 F.3d 1027, 1036 (9th Cir. 2002). 11
19             Temporal Proximity. Mere proximity between Mr. Chapek’s termination and
20    Mr. Iger’s “[a]cknowledg[ment]” that the earlier strategy had not succeeded do “not show
21    that the defendants always knew that the projections were unattainable or that they acted
22    with scienter because it is clearly insufficient for plaintiffs to say that a later, sobering
23
          11
24           The two cases Plaintiffs cite are not to the contrary. (Opp. at 27-28.) In both, individuals
      admitted to extremely detailed knowledge that directly contradicted public statements. See Okla. Police
25    Pension & Ret. Sys. v. LifeLock, Inc., 780 F. App’x 480, 484–85 (9th Cir. 2019) (scienter pleaded where
      company had agreed by “consent decree” to cease “exaggerating” about its products, employees filed
26    complaints, individual defendant got reports with “detailed statistics about stale alerts” and “admitted
27    that she was working to fix the stale alert problem”); Nursing Home Pension v. Oracle Corp., 380 F.3d
      1226, 1231 (9th Cir. 2004) (defendant said he could look at forecasts “around the world up to the minute
28    at any level of detail” and “[w]e know exactly how much we have sold in the last hour”).

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 1    revelation makes an earlier, cheerier statement a falsehood’.” Browning v. Amyris, Inc.,
 2    2014 WL 1285175, at *35 (N.D. Cal. Mar. 24, 2014) (citing Yourish v. Cal. Amplifier,
 3    191 F.3d 983, 997 (9th Cir. 1999)). Indeed, the opposing inference—that Mr. Iger
 4    returned as CEO to provide a new strategy—is far more plausible. See City of Dearborn,
 5    856 F.3d at 622 (holding inference of scienter not “at least as compelling as the opposing
 6    inference that Defendants exhibited poor business judgment”).12
 7             Tone at the Top. Plaintiffs’ reliance on Luna v. Marvell Technology Group further
 8    demonstrates why scienter cannot be inferred here. (Opp. at 30.) There, the court held
 9    that pressure for sales personnel “who, presumably, could work harder to generate more
10    revenue” to meet revenue targets was not indicative of scienter. 2017 WL 2171273, at *4
11    (N.D. Cal. May 17, 2017). 13 That is all Plaintiffs allege here. Plaintiffs also allege that
12    Mr. Chapek “ignored repeated warnings” that he should “deliver a sober message” about
13    the large loss Disney announced on its November 8, 2022 earnings call. (Opp. at 30, CC
14    ¶ 249.) Plaintiffs do not show how Mr. Chapek’s accurate disclosure of the loss paired
15    with a statement that he still expected profitability by 2024—Disney’s DTC profitability
16    target to this day—indicates scienter.
17             Termination. Plaintiffs do nothing to overcome the “reasonable assumption” that
18    the “corporate reshuffling” was simply due to disappointing results. Webb v. Solarcity
19    Corp., 884 F.3d 844, 857 (9th Cir. 2018). 14 Here, “the inference that the defendant
20    corporation forced certain employees to resign because of its knowledge of the
21
          12
22          Sipex is inapposite. (Opp. at 29.) There, after admitting to wrongdoing, the company instituted
      reforms that “customarily, even if not invariably, follow systemic and fraudulent abuse”. In re Sipex
23    Corp. Sec. Litig., 2005 WL 3096178, at *1 (N.D. Cal. Nov. 17, 2005). No such allegations exist here.
24        13
            The only allegations indicative of fraud in Luna were those involving pressure exerted on finance
      personnel. 2017 WL 2171273, at *4. No such allegations exist here.
25
          14
             Plaintiffs’ authorities are inapt. See In re Fibrogen, Inc., 2022 WL 2793032, at *25 (N.D. Cal.
26    July 15, 2022) (“abrupt resignation” plus allegations of “post-hoc changes to [clinical trial] data [that]
27    were made by Fibrogen’s most senior officials” pleaded scienter); In re WageWorks, Inc., Sec. Litig.,
      2020 WL 2896547, at *6 (N.D. Cal. June 1, 2020) (resignations announced at same time as disclosure of
28    “improper accounting”).

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 1    employee’s role in the fraudulent representations will never be as cogent or as compelling
 2    as the inference that the employees resigned or were terminated for unrelated personal or
 3    business reasons.” Zucco, 552 F.3d at 1002.
 4             Core Operations. Plaintiffs entirely ignore the requirements of the stringent core
 5    operations test, which requires “specific admissions by one or more corporate executives
 6    of detailed involvement in the minutia of a company’s operations . . . or witness accounts
 7    demonstrating that executives had actual involvement in creating false reports”. Intuitive
 8    Surgical, 759 F.3d at 1062. Plaintiffs’ Opposition directs the Court to neither.15
 9             Confidential Witnesses. Plaintiffs’ CW allegations fail to support scienter because
10    they are not “described with sufficient particularity to establish their reliability and
11    personal knowledge” and the statements are not “themselves [] indicative of scienter”.
12    Zucco, 552 F.3d at 995. While CW-1 allegedly “attended monthly meetings with Daniel
13    and drafted the earning’s call script” CW-1 confirms that the disclosed Disney+ targets
14    matched Disney’s actual, internal five year plan. (Mot. at 30.) Similarly, while CW-2
15    allegedly had “weekly meetings with the ‘entire executive team’ at Disney Streaming”
16    (CC ¶ 56), CW-2 makes no allegation that any internal information contradicted anything
17    disclosed to investors. The remaining CWs had no contact with the Individual
18    Defendants (see Index B – CW Chart) and do not allege that internal information
19    contradicted public statements, instead merely offering hindsight criticism of business
20    decisions that were fully disclosed.16 That is insufficient.
21
          15
22           Plaintiffs’ cited cases underscore the paucity of their allegations. In Reese v. Malone, defendant
      was alleged to be “the external and internal gatekeeper of information” with responsibility for providing
23    reports to leadership and the press. 747 F.3d 557, 576 (9th Cir. 2014). In Shenwick v. Twitter, Inc.,
      detailed allegations indicated that defendants had known of the adverse trends and that the ultimate
24    revelation was a decision to “come clean”. 282 F. Supp. 3d at 1145-46.
25        16
             Plaintiffs’ cases show their CW allegations are insufficient. See Maverick Fund, L.D.C. v. First
      Solar, Inc., 2018 WL 6181241, at *11 (D. Ariz. Nov. 27, 2018) (multiple CWs presented specific
26    contradictory evidence to defendants); Glazer Capital Mgmt. v. Forescout Techs., 63 F.4th 747, 771 (9th
27    Cir. 2023) (“CWs described conversations that they themselves heard . . . or practices to which they
      themselves were subjected”); Quality Systems, 865 F.3d at 1145-46 (CWs “[made] specific allegations
28    regarding large portions of ‘that sales data that contradict those same executives’ public statements).

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 1             Compensation. That Mr. Chapek’s compensation (like that of many public-
 2    company executives) was tied to performance does not raise—and in fact rebuts—an
 3    inference of scienter. See Glazer Capital Mgmt., LP v. Magistri, 549 F.3d 736, 748 (9th
 4    Cir. 2008); Rigel Pharms., 697 F.3d at 884 (courts “will not conclude that there is
 5    fraudulent intent merely because a defendant’s compensation was based in part on such
 6    successes”). Plaintiffs ignore that: (1) the vast majority of Mr. Chapek’s compensation
 7    vested over several years, making a short-term scheme implausible (Mot. at 33), and (2)
 8    Mr. Chapek held substantial Disney stock, aligning his financial interests with investors.
 9    See Worlds of Wonder, 35 F.3d 1424-25 (no scienter where defendants “held onto most
10    of their stock and incurred the same large losses as did the Plaintiffs themselves”).
11                              b. Plaintiffs Fail to Plead Scienter as to Ms. McCarthy.
12             Allegations about Ms. McCarthy do not meet the stringent standard for scienter.
13             Internal Data. Plaintiffs’ argument that Ms. McCarthy was presented with
14    unspecified churn data fails for a total lack of specificity. (See supra § I.A.3.a at 12.) No
15    allegations show that the data differed from anything Disney disclosed.
16             Compensation. Ms. McCarthy’s compensation is not indicative of scienter for the
17    same reasons as Mr. Chapek’s, explained supra, § I.A.3.
18             Trading. Trading supports scienter only when suspicious and “dramatically out of
19    line with prior trading practices at times calculated to maximize the personal benefit from
20    undisclosed inside information”. Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540
21    F.3d 1049, 1066-67 (9th Cir. 2008) (citation omitted). Plaintiffs cannot allege that as to
22    Ms. McCarthy because she had a years-long practice of exercising options near
23    expiration and selling resulting shares pursuant to a 10b5-1 plan. (Mot. at 34 n.7); see
24    Jasin v. Vivus, Inc., 2016 WL 1570164, at *20 (N.D. Cal. Apr. 19, 2016) (no scienter
25    where trading was pursuant to 10b5-1 plan and was not “the bulk” of shares). 17 There is
26
          17
27           This is unlike Mulderrig v. Amyris, Inc., where defendant’s class-period trading had a “significant
      uptick” relative to “only [one] other sale” the five years prior. 492 F. Supp. 3d 999, 1029-30 (N.D. Cal.
28    2020).

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 1    nothing “calculated to maximize the personal benefit” in exercising options so that they
 2    do not expire. See id. at *20 (finding no scienter where stock sales were made at time of
 3    “obvious and appropriate opportunity to sell stock”).18
 4             Resignation. Plaintiffs allege no facts showing that Ms. McCarthy’s resignation—
 5    over six months after Mr. Iger’s return—was suspicious. The more reasonable inference
 6    is that she left “for unrelated personal or business reasons.” Zucco, 552 F.3d at 1002.
 7                              c. Plaintiffs Fail to Plead Scienter as to Mr. Daniel.
 8             Plaintiffs point to no pleaded facts showing that Mr. Daniel did not believe the sole
 9    statement attributed to him (CC ¶ 277, Stmt. 17), and do not even attempt to explain how
10    the complaint paragraphs they cite support a strong inference of scienter.
11                4. Plaintiffs Fail to Plead Loss Causation.
12             Plaintiffs argue that Disney’s alleged “misrepresentations and fraudulent conduct
13    became apparent to the market” on November 11, 2021, November 8, 2022, and May 11,
14    2023. (CC ¶ 384.) “When plaintiffs plead a causation theory based on market revelation
15    of the fraud, [a] court naturally evaluates whether plaintiffs have pleaded or proved the
16    facts relevant to their theory.” Irving Firemen’s Relief & Ret. Fund, 998 F.3d at 410. No
17    fraud-related information came to light on those dates.
18             November 10, 2021. Plaintiffs allege that Disney’s shares fell because of slowed
19    subscriber growth—but that is not a truth revealed to the market. (Opp. at 36.) Disney
20    actually disclosed that its subscribers were “in line with the subscriber guidance we gave
21    in September” and did not revise its 2024 subscriber target. (Mot. at 38 (emphasis
22    added).) The November 10 news was confirmatory, not corrective. The only new
23    information was an update about the exact size of Disney’s loss (Opp. At 37)—but that is
24
25        18
             Ms. McCarthy’s trading pattern is not a “factual question”. (Opp. at 34.) At the pleading stage,
      courts are required to weigh all competing inferences to determine if Plaintiffs have pleaded a strong
26    inference of scienter. Metzler, 540 F.3d at 1066. Each Form 4, of which courts routinely take judicial
27    notice, see In re Silicon Graphics Inc., 183 F.3d 970, 986 (9th Cir. 1999), shows when Ms. McCarthy
      exercised her options, when they expired, the number of shares redeemed and sold and that each sale
28    was made pursuant to a 10b5-1 plan. (Mot. at 34-35.)

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 1    not what Plaintiffs allege moved the market (CC ¶ 385) and Disney had already disclosed
 2    that its losses would peak between 2020 and 2022 (Mot. at 5-6).
 3             November 8, 2022. Plaintiffs allege that investors were stunned by an
 4    announcement of a $1.47 billion operating loss. (CC ¶ 391.) But they offer no
 5    explanation as to how fraud was revealed. Nor could they, given that Disney already had
 6    disclosed the prior quarter a $1.1 billion operating loss—an $800 million dollar year-
 7    over-year increase—and explicitly said that “in the next quarter”, investors “will see a
 8    similar increase year-over-year that you saw this quarter”. (Opp. At 37.) The
 9    November 8 news confirmed what Disney already disclosed, and Plaintiffs identify no
10    prior statement it revealed to be false or misleading. (Mot. at 38.)19
11             March 10, 2023. Nor do Plaintiffs explain how anything on March 10 showed
12    earlier statements to have been false or misleading when made. As an initial matter,
13    Disney—to this very day—has maintained its prediction that its DTC business will
14    achieve profitability in 2024; nothing about that core issue has been corrected or changed.
15    Disney always disclosed the risk of its DTC strategy, and Plaintiffs do not explain how a
16    change of direction reveals the prior statements were false or misleading. Even if it did,
17    Mr. Iger already had disclosed his “transformation” to “rationalize” Disney’s streaming
18    business in February 2023. (Mot. at 39; Opp. At 38.) Plaintiffs contend that the February
19    disclosure “said nothing” about “profitability being unattainable”, “cutting international
20    expansion” or “the upcoming impairment charge.” (Opp. At 38.) But Plaintiffs’
21    nitpicking is rebutted by Mr. Iger’s expansive statements in February that “the streaming
22    business . . . is not delivering . . . the kind of profitability or bottom-line results”, “we’re
23    going to rebalance” the streaming business, Disney would “aggressively curate [its]
24    general entertainment content”, “reassess all markets . . . and also determine the right
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26        19
             Plaintiffs say it is a question of fact whether investors “should have been prepared” for the loss.
27    (Opp. at 38.) That is wrong. Public documents show that Disney disclosed a negative forecast that was
      confirmed by actual results and the Court “need not” “accept as true allegations that contradict matters
28    properly subject to judicial notice”. In re Gilead Sciences, 536 F.3d 1049, 1055 (9th Cir. 2008).

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 1    balance between global and local content” and “adjust [its] pricing strategy, including . . .
 2    promotional strategies”. (Ex. 53, Q1 FY2023 Earnings Conference Call at 6.) The lack
 3    of any stock drop in February refutes loss causation. Wochos v. Tesla, Inc., 985 F.3d
 4    1180, 1185 (9th Cir. 2021).
 5       B. Plaintiffs’ § 20A Contemporaneous Trading Claim (Count II) Fails.
 6             Iger. Plaintiffs do not allege that Mr. Iger participated in any scheme or made any
 7    false or misleading statements. Plaintiffs also acknowledge that a claim under § 20A
 8    requires a predicate violation. (Opp. At 38 & n.17.) Plaintiffs now attempt to fabricate
 9    the predicate violation by arguing that Mr. Iger committed improper insider trading.
10    (Opp. at 38.) But Plaintiffs never pleaded a Section 10(b) insider trading claim and
11    “cannot defend against a motion to dismiss by relying on new allegations in their
12    Opposition that are absent from the operative pleading.” 20 Delegates to Republican Nat’l
13    Convention v. Republican Nat’l Comm., 2012 WL 1285175, at *1 (C.D. Cal. Aug. 7,
14    2012); Schneider v. Cal. Dep’t of Corr., 151 F.3d 1194, 1197 n.1 (9th Cir. 1998). Nor
15    have Plaintiffs pleaded that Mr. Iger traded while in possession of MNPI or acted with
16    scienter—as is required. See In re Silver Lake Grp. Sec. Litig., 2022 WL 4485815, at *7
17    (N.D. Cal. Sep. 27, 2022); Shurkin v. Golden State Vintners Inc., 471 F. Supp. 2d 998,
18    1025-26 (N.D. Cal. 2006) (“blanket assertions” of MNPI fail, as plaintiffs must allege
19    “when” and “what” MNPI was received). Plaintiffs fail to show that Mr. Iger’s trading
20    was “dramatically out of line” with his prior trading. In re Silverlake Grp., 2022 WL
21    4485815, at *10.
22             McCarthy. Plaintiffs plead no predicate violation (see supra §§ I.A.1, I.A.2), nor
23    scienter (see supra § I.A.3), nor any specific MNPI that Ms. McCarthy possessed or
24    when she possessed it. That dooms their claims.
25                                         II.    CONCLUSION
26             The Consolidated Complaint should be dismissed in its entirety with prejudice.
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            Because the Consolidated Complaint does not allege a § 10(b) insider trading claim against
28    Mr. Iger, Defendants could not have addressed that claim in their opening brief. (Opp. at 39 n.19.)

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 1                               L.R. 11-6.2 Certificate of Compliance
 2            The undersigned, counsel of record for Defendants, certifies that this brief contains
 3    18 pages, which complies with the page limit set by court order dated November 22,
 4    2023.
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      Dated: March 5, 2024                                        /s/ John W. Spiegel
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